Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 1 of 14 PageID #:24194




              EXHIBIT 16
                                        to

          Defendants’ Motions in Limine
              regarding Damages




                    Baxter Int’l, Inc. v. CareFusion Corp. et al.
                        N.D. Ill. Case No. 1:15-cv-09986
Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 2 of 14 PageID #:24195

                                                                                     1

     1                     IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
     2                              EASTERN DIVISION

     3
          BAXTER INTERNATIONAL, INC.,             )
     4                                            )
                               Plaintiff,         )
     5                                            )   No. 15 C 9986
                         vs.                      )   Chicago, Illinois
     6                                            )   May 18, 2023
          CAREFUSION CORPORATION and              )   11:00 a.m.
     7    BECTON, DICKINSON AND COMPANY,          )
                                                  )
     8                         Defendants.        )

     9                           TRANSCRIPT OF PROCEEDINGS

    10                  BEFORE THE HONORABLE NANCY L. MALDONADO

    11    APPEARANCES:

    12    For the Plaintiff:                MARSHALL GERSTEIN & BORUN LLP
                                            6300 Willis Tower
    13                                      233 South Wacker Drive
                                            Chicago, Illinois 60606
    14                                      BY: MS. JULIANNE M. HARTZELL
                                                 MS. CHELSEA M. MURRAY
    15                                           MS. KELLEY S. GORDON

    16                                      BARCLAY DAMON LLP
                                            125 East Jefferson Street
    17                                      Syracuse, New York 13202
                                            BY: MR. DOUGLAS J. NASH
    18

    19    For the Defendants:               WILMER HALE
                                            7 World Trade Center
    20                                      250 Greenwich Street
                                            New York, New York 10007
    21                                      BY: MR. OMAR A. KHAN

    22

    23    Official Court Reporter:          JENNIFER COSTALES, CRR, RMR, CRC
                                            219 S. Dearborn St., Room 2342
    24                                      Chicago, Illinois 60604
                                            (312) 435-5895
    25                                      jenny.uscra@yahoo.com
Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 3 of 14 PageID #:24196

                                                                                     2

     1    APPEARANCES:     (Continued)

     2    For the Defendants:               WILMER HALE
                                            60 State Street
     3                                      Boston, Massachusetts 02109
                                            BY: MS. LISA J. PIROZZOLO
     4
                                            TOTTIS LAW
     5                                      401 North Michigan Avenue
                                            Suite 530
     6                                      Chicago, Illinois 60611
                                            BY: MR. KEVIN TOTTIS
     7
                                            FREDRIKSON & BYRON, P.A.
     8                                      200 South 6th Street
                                            Suite 4000
     9                                      Minneapolis, Minnesota 55402-1425
                                            BY: MR. KURT J. NIEDERLUECKE
    10                                           MR. ADAM R. STEINERT

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25
       Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 4 of 14 PageID #:24197

                                                                                            3

            1         (Proceedings via Webex)

            2               THE COURTROOM DEPUTY:        Good morning.      Case 15 CV

            3    9986, Baxter versus CareFusion.

            4               Plaintiff's counsel, if you can please state your

11:00:38    5    name.

            6               MS. HARTZELL:      Julianne Hartzell on behalf of Baxter.

            7               THE COURTROOM DEPUTY:        And defense counsel.

            8               MR. KHAN:     Omar Khan on behalf of CareFusion

            9    defendants.

11:00:48   10               THE COURT:     Good morning, counsel.

           11               MS. HARTZELL:      Good morning, Your Honor.

           12               MR. KHAN:     Good morning, Your Honor.

           13               THE COURT:     I see we have another virtual roomful.

           14               Thank you for the status report.           I did have a chance

11:01:02   15    to review it, and I see that there are a few issues to talk

           16    about, the first being depositions, live or remote.

           17               You know, I've read your positions.           Is there

           18    anything else that, and I'll start with you, Ms. Hartzell,

           19    that you want to add that's not in your report, which I've

11:01:26   20    read?   Anything else?

           21               MS. HARTZELL:      I will note one thing that we didn't

           22    necessarily want to put in the public filing.              One of the

           23    witnesses had raised some health concerns about having large

           24    groups of people around.        But there are likely ways we could

11:01:42   25    address that if the Court chooses in-person depositions.
       Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 5 of 14 PageID #:24198

                                                                                            4

            1                THE COURT:    Okay.    Can I ask which witness raised

            2    that issue?

            3                MS. HARTZELL:     Ken Lynn.

            4                THE COURT:    Okay.    You know, I am sensitive to those

11:01:58    5    issues and we can discuss further.

            6                But, Mr. Khan, anything else that you would like to

            7    add in addition to anything you've already stated?

            8                MR. KHAN:    Your Honor, we hadn't heard about

            9    Mr. Lynn's health issues.         With respect to him, I think we'd

11:02:14   10    be okay to proceed with a virtual deposition so we can take

           11    that issue off the table.

           12                And with respect to the other witnesses, they're all

           13    in the Chicago area.       We're going to travel to them.          They can

           14    wake up in the morning and go to Ms. Hartzell's office instead

11:02:28   15    of, you know, going to wherever they were going to work or

           16    elsewhere.     So we think there is really no burden to them or

           17    to Baxter here.

           18                THE COURT:    Okay.    So thank you for accommodating

           19    Mr. Lynn.    So his will proceed remotely.

11:02:46   20                As to Vaughn and Bello, I will order that those

           21    proceed live.     You know, I know we're all sort of in this

           22    transition place where we're trying to figure out what we do

           23    live and do we go back and do we keep doing remote.

           24                I think for something like this, a status hearing

11:03:11   25    like this where I have counsel I think from all corners, it
       Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 6 of 14 PageID #:24199

                                                                                                  5

            1    makes sense to do it remotely to save costs for clients.                   But

            2    depositions are different.         Counsel are evaluating witnesses,

            3    and I think in person is better and what's typically

            4    contemplated, except when there are other issues like with

11:03:32    5    Mr. Lynn.

            6                So I will order that Vaughn and Bello be live and at

            7    their convenience, right.

            8                And so, Mr. Khan, are Bello and Vaughn currently

            9    employed by Baxter?

11:03:48   10                MS. HARTZELL:     Vaughn is, Bello is not.

           11                THE COURT:    Okay.    I'm very sensitive, as you all

           12    should be, to witnesses' schedules.           So you'll cooperate and

           13    try to accommodate the witnesses as best as you can.

           14                Now, Sato is also not with Baxter anymore.

11:04:12   15                MS. HARTZELL:     Correct.

           16                THE COURT:    Right.     I feel like he's a little

           17    different in that he was disclosed as to damages, as having

           18    knowledge of damages.

           19                I know CareFusion, Mr. Khan, you don't need to tell

11:04:27   20    me what you told me before.          I know you feel that perhaps you

           21    didn't have a good crack at him, and you are getting your

           22    crack at him.     He's a former Baxter employee.

           23                He has to be subpoenaed, right, Ms. Hartzell?

           24                MS. HARTZELL:     Yes.

11:04:38   25                THE COURT:    I would suggest that you all defer to
       Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 7 of 14 PageID #:24200

                                                                                                6

            1    what Mr. Sato would like.         You know, he's already been

            2    deposed.    He's not a Baxter employee.         So live or remote, I

            3    will allow either, but you need to work around Mr. Sato's

            4    schedule.    I don't know how long his first deposition was.               I

11:04:59    5    expect that it at least went the full seven hours.               And so

            6    respect his schedule.

            7                MR. KHAN:    Understood, Your Honor.

            8                THE COURT:    Okay.    So that one, he can decide what he

            9    prefers.

11:05:12   10                On the supplemental interrogatory issue, I did read

           11    what you all submitted, and I reread the answer to

           12    interrogatory 8, which has quite a bit of information in it,

           13    which I think will be further illuminated by these four

           14    depositions.     You know, I'm not inclined to order an

11:05:39   15    additional supplemental answer.

           16                You know, Mr. Khan, what do you think you need that

           17    you can't get in a deposition?

           18                MR. KHAN:    I think, Your Honor, there are really two

           19    issues.    And let me start with the one that I know, and I

11:06:00   20    think Ms. Hartzell would agree, can't be done in a deposition,

           21    which is what they've done is they have provided us with

           22    per-unit royalties.       And they don't know, the witnesses don't

           23    know how many units were sold.

           24                And so I think at minimum we need an interrogatory

11:06:23   25    response to explain how they're going, how Baxter is going to
       Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 8 of 14 PageID #:24201

                                                                                                  7

            1    contend to convert the per-unit royalty into sort of the

            2    ultimate damages claim that they're going to try to put in

            3    front of a jury.

            4               THE COURT:     Well, don't they tell you that?          I'm

11:06:38    5    looking at page 5.       The number of PC units is set forth in the

            6    expert report and deposition of Salters.            The underlying facts

            7    are in the Salters report.

            8               I mean, here is what I am trying to figure out.                 I'm

            9    all about fairness, but like can't you look at the report and

11:06:56   10    know about the number of units?          Yeah.

           11               MR. KHAN:     I think, Your Honor, there was a dispute

           12    over the number of units that are at issue, and that's part of

           13    the problem.

           14               THE COURT:     Okay.

11:07:08   15               MR. KHAN:     And so, you know, I think all we're really

           16    all asking for, and we said this to them in the meet and

           17    confer, we're just asking for a table or a chart.               We're not

           18    asking for some long narrative response, sort of just the

           19    addition of a table or a chart that explains how they got from

11:07:24   20    each of the licences to the alleged per-unit royalty and then

           21    how are they getting from the per-unit royalty to whatever

           22    number they want to put in front of a jury.

           23               So I think, Your Honor, it's as simple as they have

           24    four licences, it's a table with four rows, and that's really

11:07:42   25    all we're asking for.       They've done the math.         They know the
       Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 9 of 14 PageID #:24202

                                                                                            8

            1    math.    And I think there were disputes, you know, at the

            2    expert phase about what the royalty base should or shouldn't

            3    be.   There were disputes about which rates in the licences

            4    apply.    And so we're just looking to make sure we understand

11:07:59    5    their contentions with respect to what the royalty base is

            6    going to be and what rates and which licences they're picking

            7    as the basis for their per-unit royalty.

            8               And, ultimately, just to say it again, all we're

            9    looking for is a little table or a chart that lays that out.

11:08:15   10    It's not a big -- it should not be some elaborate sort of

           11    supplementation on their part.

           12               THE COURT:     Okay.    Ms. Hartzell, what is the

           13    plaintiff's objection to sort of, you know, adding on to your

           14    supplemental answer here a chart, which is going to have

11:08:34   15    ranges, right?      I mean, what is plaintiff's objection to doing

           16    that?

           17               MS. HARTZELL:      Well, first, I think that it has been

           18    done, that that information is already known to the

           19    defendants.     Their expert, as we talked about in the briefing

11:08:49   20    on the motion, their expert went through each of the licences

           21    and laid out all of the terms for those licences.               So they are

           22    aware of those terms.

           23               And then secondly, with respect to -- we actually

           24    didn't discuss what the royalty base is during our meet and

11:09:06   25    confer, but that is something that was -- that the dispute is
      Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 10 of 14 PageID #:24203

                                                                                              9

            1   about which units infringe, so that's really more of an

            2   infringement question, and it will be a determination for the

            3   jury about which units infringe.

            4               They are aware of the units that they sold, and as

11:09:21    5   Your Honor noted, the Salters report identified those that

            6   Baxter believes are going to be the number that are found to

            7   infringe.

            8               THE COURT:    Okay.    You know, I don't want to

            9   create -- I understand what you are saying, Ms. Hartzell.                   And

11:09:46   10   here is what I am trying to figure out.            What is the fair

           11   thing to do here?       I will ask you, Ms. Hartzell, this doesn't

           12   feel -- I understand that there is disputes, and the jury may

           13   decide things, and the damages theory might be dependent on

           14   what the jury decides.        I get that.     But is there any burden

11:10:05   15   to the plaintiff in putting together a chart along the lines

           16   of what Mr. Khan suggests?

           17               MS. HARTZELL:     Well, I think if we are going to

           18   supplement the interrogatory response, it makes sense to do so

           19   after the fact witness depositions have taken place so that

11:10:22   20   that testimony can also be incorporated.             So I think that that

           21   would be our preference, to provide that once we have that

           22   information.

           23               THE COURT:    Okay.    Mr. Khan, response on timing?

           24               MR. KHAN:    I think, Your Honor, we sort of need that

11:10:42   25   now in terms of how they're getting from each license to each
      Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 11 of 14 PageID #:24204

                                                                                            10

            1   rate.    It's something that they have in their hands now.

            2   Baxter's counsel in prior conferences before Judge Kendall

            3   said, and I quote, "The math is simple."             And if it's simple,

            4   just put it in a 'rog response and do it now.              I think they

11:11:03    5   could do it by close of business today.

            6              And I don't think there is any need to wait until the

            7   depositions.      In fact, it would inform how we take the

            8   depositions to make sure we understand, you know, if they're

            9   selecting a particular rate and a particular license that

11:11:16   10   derives, then we need to know that before we take the

           11   depositions, not after.        Their damages contentions should be

           12   complete today, not after we take these depositions.

           13              THE COURT:     So here is what I am going to do.

           14   Ms. Hartzell, I am going to order plaintiff to supplement this

11:11:38   15   interrogatory response with a chart.            I understand that there

           16   are variables and unknown and things may evolve following the

           17   depositions.      But in terms of if it's really all out there, as

           18   you suggest, just packaging it just for the sake of full

           19   disclosure.

11:12:08   20              Now, I will give you time to do this.            I'm not going

           21   to order you to do it today.          So I will ask you, Ms. Hartzell,

           22   how long you need to put together such a chart?

           23              MS. HARTZELL:      I would ask for one week.

           24              THE COURT:     Okay.    So one week to do that, by the

11:12:37   25   25th.    Then you'll do the depositions, right?
      Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 12 of 14 PageID #:24205

                                                                                            11

            1              And I will say that on the trial date, which is

            2   another issue you've raised, you know, I do have an opening on

            3   February 26, 2024.       It's far enough out from the November date

            4   that I could slot someone into your date.

11:13:03    5              I'm very mindful of my trial calendar, because as a

            6   new judge I inherit cases, and some are trial ready, and I'm

            7   trying to fit everyone in.

            8              And I am mindful that -- I'm not saying I even think

            9   supplemental expert reports are necessary, Mr. Khan.                So don't

11:13:22   10   get too excited.       However, I am mindful that with depositions

           11   you are running up against pretrial -- it feels a little on

           12   the tighter side, and it's early enough that I can still be

           13   efficient and slot someone into your November time.               So I am

           14   willing to move it to February 26th.

11:13:42   15              Now, Ms. Hartzell, you raised the issue of witness

           16   availability.      You know, I would say that -- here is what I

           17   would suggest.      I will put a soft hold on February 26, 2024.

           18   And you all have requested, is it seven days for trial, that's

           19   what you've estimated, more or less?

11:14:09   20              Okay.    I will hold probably just roughly a two-week

           21   period for you, 10 days, I'll hold those 10 days for you

           22   starting on February 26th.

           23              You can file a joint status report in maybe two weeks

           24   confirming that this will work for your witnesses.               And then

11:14:30   25   at that point if it does, I will go ahead and move the trial
      Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 13 of 14 PageID #:24206

                                                                                            12

            1   to that date.

            2               I think that the other thing that this would allow

            3   you to do is explore settlement.           Now, I know you already went

            4   to McShain.     And I am happy to try your case and learn all

11:14:50    5   about your technology, et cetera, et cetera.              However, I think

            6   there is always value in exploring settlement.              You know, some

            7   variables have been decided.          And you will be learning more in

            8   the coming months about the damages aspect.

            9               If at any point you want to go back to McShain, you

11:15:12   10   let me know.      This is an invitation.        I don't like pressuring

           11   parties.     And I also don't like pester McShain to tell me what

           12   happened.     I kind of prefer to just sort of stay out of it.

           13   So I actually don't know, I don't know really much at all

           14   about what happened with her.

11:15:33   15               But this schedule will permit exploration of

           16   settlement if you want it.         So think about that.        And you can

           17   file a status report with me at any time asking me to refer

           18   you back to McShain, because I think things will become clear

           19   for you in the coming months on damages, right, at least.

11:15:57   20   Okay.

           21               MS. HARTZELL:     Thank you, Your Honor.

           22               THE COURT:    Okay.

           23               MR. KHAN:    Thank you, Your Honor.

           24               THE COURT:    Are there any questions for me?

11:16:04   25               MS. HARTZELL:     Nothing from the plaintiff.
      Case: 1:15-cv-09986 Document #: 551-16 Filed: 09/07/23 Page 14 of 14 PageID #:24207

                                                                                            13

            1              MR. KHAN:     Nothing from the defendants, Your Honor.

            2   Thank you.

            3              THE COURT:     Okay.    So I'll hear from you back on the

            4   witness availability issue in about two weeks.              I'll issue a

11:16:17    5   minute order that will summarize my ruling today.

            6              Okay.    Well, thank you.

            7              MS. HARTZELL:      Thank you.

            8              MR. KHAN:     Thank you.

            9          (Proceedings concluded)

           10                             C E R T I F I C A T E

           11              I, Jennifer S. Costales, do hereby certify that the

           12   foregoing is a complete, true, and accurate transcript of the

           13   proceedings had in the above-entitled case before the

           14   Honorable NANCY L. MALDONADO, one of the judges of said Court,

           15   at Chicago, Illinois, on May 18, 2023.

           16

           17                               /s/ Jennifer Costales, CRR, RMR, CRC

           18                               Official Court Reporter

           19                               United States District Court

           20                               Northern District of Illinois

           21                               Eastern Division

           22

           23

           24

           25
